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                  IN THE CIRCUIT COURT OF THE STATE OF OREGON

                                 FOR THE COUNTY OF MARION


 KRISTINE JOHNSON, JOHN DOE C., JOHN
 DOE J., JANE DOE K., and JOHN DOE S.,
                                                       Case No.    20CV01249
                                         Plaintiffs,
                                                       COMPLAINT (Interference With
                        vs.                            Prospective Economic Advantage;
                                                       Breach of Fiduciary Duty; Negligence)
 CORPORATION OF THE PRESIDENT OF
 THE CHURCH OF JESUS CHRIST OF                         Prayer: $9,540,000
 LATTER-DAY SAINTS AND SUCCESSORS,                     Filing fee statute: ORS 21.160(1)(d)
 a Utah corporation,                                   Mandatory arbitration: No

                                       Defendant.

                                                 1.

       COMES NOW plaintiffs, by and through their undersigned counsel, and bring this

Complaint against the defendant THE CORPORATION OF THE PRESIDENT OF THE

CHURCH OF JESUS CHRIST OF LATTER-DAY SAINTS AND SUCCESSORS, a Utah

Corporation, and based upon information and belief available at the time of filing.

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                           PARTIES, JURISDICTION AND VENUE

                                                 2.

       At all times material and relevant herein, plaintiff Kristine Johnson was a citizen and

resident of the State of Oregon. At all times material and relevant herein, plaintiffs John and

Jane Does were citizens and residents of the State of Oregon and were persons who have been

damaged as a result of the conduct of the defendant as alleged hereinafter.

                                                 3.

       At all times material and relevant herein, plaintiff Kristine Johnson, along with her

husband, Timothy Johnson, and their children, John and Jane Does, were members of the Church

of Jesus Christ of Latter-Day Saints and Successors.

                                                 4.

       Defendant CORPORATION OF THE PRESIDENT OF THE CHURCH OF JESUS

CHRIST OF LATTER-DAY SAINTS AND SUCCESSORS is a corporation duly organized and

operating pursuant to the laws of the State of Utah (hereinafter "COP"). Defendant COP is a

corporate organization that functionally operates and advertises itself to the public as The Church

of Jesus Christ of Latter-Day Saints (hereinafter "The Church"). Defendant COP is registered

with the Oregon Secretary of State as a Foreign Non-profit Corporation and operates church

facilities within the State of Oregon. Its principal place of business is 50 E. North Temple, Floor

20, Salt Lake City, Utah, 84150.

                 CORPORATE STRUCTURE RELEVANT TO ALL CLAIMS

                                                 5.

       Defendant COP and the Church are headquartered in Salt Lake City, Utah and claim a


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membership of over sixteen million worldwide. COP is a hierarchical, or top-down, corporate

structure.

                                                  6.

        Lay clergy run the Church at the local level. At the local level the Church divides its

membership into "stakes," which usually consist of five to twelve congregations called "wards"

or :branches." A "ward" is typically a congregation with 300 to 600 members.

                                                  7.

        Each "ward" has a bishop who has authority over the members of the ward, and who

operates in that role as an agent of COP. The Bishop is assisted by a First Counselor and Second

Counselor, who are agents of COP.

                                                  8.

        The Salem Stake includes the Stayton Ward. Plaintiff Kristine Johnson and John and

Jane Does were and are members assigned by Defendant to the Stayton Ward and are now

assigned to the Four Corners Ward. Plaintiffs abided by all of the tenants, regulations and

precepts of the Church.

                                                  9.

        Brian Saari, (hereinafter "Saari") was at all time material to the allegations in this

complaint a "counselor" in the Stayton, Oregon Ward. All acts and statements attributed to Saari

alleged in this complaint were undertaken within the course and scope of Saari's counseling and

agency relationship he maintained with the Defendant, and were authorized, adopted or

sanctioned by Defendant as part of Saari's actual, apparent or implied authority.

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                                                 10.

        All acts and statements alleged in this complaint regarding the conduct of the church

officials and the Stayton Ward were undertaken within the course and scope of the officials’

administrative and agency relationships maintained with the defendant, and were authorized,

adopted or sanctioned by defendant as part of the church officials’ actual, apparent or implied

authority.

                                                 11.

       The Church lay clergy, including Ward bishops and counselors, who serve the Church’s

local congregations conduct confession sessions and spiritual counseling, which activities by the

Church’s clergy involve and implicate the priest-penitent privilege.

                                                 12.

       Church scripture mandates confession: "Behold he who has repented of his sins, the

same is forgiven, and I, the lord, remember them no more. By this ye may know if a man

repenteth of his sins-behold, he will confess them and forsake them." Doctrine and Covenants

58:42-43.

                                                 13.

       Other scripture admonishes church members to confess their "sins unto their brethren,

and before the Lord.” Doctrine and Covenants 59:12.

                                                 14.

       Confessions occur during official church courts that convene at the ward and stake level

to address the membership consequences of certain transgressions. Church written doctrine and

historical practices direct local clergy and stake presidents to keep confession like


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communications confidential.

                                 NATURE OF WRONGDOING

                                                15.

         The Stayton Ward is a subdivision of the Salem, Oregon Stake which is a subdivision of

and is wholly owned and operated by COP.

                                                16.

         Sometime in 2016, plaintiff Kristine Johnson learned that her husband, Timothy Johnson

(hereinafter “Mr. Johnson”), had engaged in inappropriate conduct with his daughter, NJ, when

she was underage. In response to that, plaintiff Kristine Johnson and Timothy Johnson followed

the rules and scriptures of the Church, which rules and scriptures requires and admonish church

members to “confess their sins unto the brethren before the Lord,” Doctrine and Covenants

59:12.

                                                17.

         During 2016, Mr. Johnson was scheduled before the Stayton, Oregon Ward pursuant to

the Church scripture set forth in Paragraphs 12 and 13 to "confess and repent his sins" before the

Church clergy and official Church court as set forth in paragraph 14. Stake officials in their

fiduciary capacities as a clergymen expressly represented to Mr. Johnson and plaintiff Kristine

Johnson that:

         a.     Such confession and Repentance was dictated by the Church faith, and was

necessary to spiritual health and to be in the presence of God;

         b.     That Church doctrine required all clergy and members of the Church Court to

maintain strict confidence of such confessions, and


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        c.      That whatever the scope of Mr. Johnson's evil transgressions, the Church and it's

clergy will spiritually counsel Mr. Johnson to bring peace within his life and family.

                                                   18.

             Pursuant to Church scripture and representations given to him, Mr. Johnson

participated in the confession process and confessed, inter alia, to engaging in improper sexual

contact with his minor daughter. Various Stake officials, including Mr. Saari, participated as

members of the Church court, clergy and spiritual counselors.

                                                   19.

        Defendant, acting through the Church leaders, failed to advise Timothy Johnson, Kristine

Johnson or the family that if he followed Church scripture and guidance and confessed his sins,

that they would report him to state authorities.

                                                   20.

        Thereafter Mr. Saari without prior notice and in violation of the Church doctrines and

representations set forth above, reported the contents of Mr. Johnson's confessions to state

authorities resulting Mr. Johnson's felony indictment, conviction and sentencing of multiple years

in prison.

        FOR A FIRST CLAIM FOR RELIEF: INTERFERENCE WITH PROSPECTIVE

ECONOMIC ADVANTAGE, plaintiffs allege:

                                                   21.

        Plaintiffs incorporate by reference all the above related paragraphs with the same force

and effect as if herein set forth.

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                                                22.

        Defendant and its Clergy knew Plaintiffs because they were active members of the Salem

Stake and Stayton Ward at the time of the events described in this complaint.

                                                23.

        Defendant knew or should have known that violating the doctrine of confidentially under

the circumstances alleged in this complaint would most certainly injure Plaintiffs financially.

                                                24.

        As a direct and proximate result of the Defendants’ wrongful acts and omissions as

alleged herein and the resulting incarceration of Mr. Johnson, thereby depriving his wife and

children of his companionship, society, love, affection and pecuniary interest in the following

particulars:

        a.     Just, fair and reasonable compensation for loss of consortium, extreme emotional

distress as well as pecuniary loss to Plaintiff Kristine Johnson in the amount of $5,500,000.00,

which plaintiffs reserves the right to amend this complaint to reflect increases in income which

Timothy Johnson would have reasonably expected due to his successful career as a sculptor;

        b.     Compensation to plaintiff Kristine Johnson in the amount of $40,000 to pay for

the criminal defense of Timothy Johnson

        c.     Just, fair and reasonable compensation for loss of consortium, extreme emotional

distress as well as pecuniary loss to Plaintiffs Jane and John Does in the amount of $1,000,000

each, for a total of $4,000,000, which plaintiffs John and Jane Does reserves the right to amend

this complaint to reflect increases in income which Timothy Johnson would have reasonably

expected due to his successful career as a sculptor.


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          FOR A SECOND CLAIM FOR RELIEF: BREACH OF FIDUCIARY DUTY, plaintiffs

allege:

                                                  25.

          Plaintiffs incorporate by reference all the above-related paragraphs with the same force

and effect as if herein set forth.

                                                  26.

          Defendant and its Clergy were in a special position of trust and in a special relationship

with respect to Plaintiffs. Defendant breached its fiduciary duty by failing to disclose that despite

the express doctrine of confidentially intended to assist the family through difficult times, that

members of the clergy would in fact report that which was disclosed and "confessed" pursuant to

mandated Church scripture.

                                                  27.

          As a direct and proximate result of the defendants’ wrongful acts and omissions as

alleged herein and the resulting incarceration of Mr. Johnson, plaintiffs have been damaged as

alleged in paragraph 24 herein, which paragraph is herein realleged.

          FOR A THIRD CLAIM FOR RELIEF: NEGLIGENCE, plaintiffs allege:

                                                  28.

          Plaintiffs incorporate by reference all the above-related paragraphs with the same force

and effect as if herein set forth.

                                                  29.

          Defendant was negligent in the following particulars:

          A.     In failing to properly supervise Mr. Saari, who was a member of the church court


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               and clergy;

       B.      In failing to properly train Mr. Saari with respect to his duties and obligations as a

               member of defendant’s clergy.

                                                 30.

       As a direct and proximate result of the defendant’s negligence and the resulting

incarceration of Mr. Johnson, plaintiffs have been damaged as alleged in paragraph 24 herein,

which paragraph is herein realleged.

                                  DEMAND FOR JURY TRIAL

                                                 31.

       Plaintiffs demand a jury trial for all issues in this matter.

                                                 32.

       Plaintiffs reserve the right to amend this Complaint if new claims arise as the facts

develop.

       WHEREFORE, plaintiffs pray for judgment as follows:

       1.      Pursuant to plaintiffs’ First Claim for Relief:

               A. Economic damages in the amount of $40,000.00.

               B. Non-economic damages to Kristine Johnson in the amount of $5,500,000.00.

               C. Non-economic damages to each of the John and Jane Doe plaintiffs Johnson in

the amount of $1,00,000.00 each, for a total of $4,000,000.00.

               D. Plaintiffs’ costs and disbursements incurred herein.

               E. Such other and further relief as this court deems just and equitable.

       2.      Pursuant to plaintiffs’ Second Claim for Relief:


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              A. Economic damages in the amount of $40,000.00.

              B. Non-economic damages to Kristine Johnson in the amount of $5,500,000.00.

              C. Non-economic damages to each of the John and Jane Doe plaintiffs Johnson in

the amount of $1,000,000.00 each, for a total of $4,000,000.00.

              D. Plaintiffs’ costs and disbursements incurred herein.

              E. Such other and further relief as this court deems just and equitable.

       3.     Pursuant to plaintiffs’ Third Claim for Relief:

              A. Economic damages in the amount of $40,000.00.

              B. Non-economic damages to Kristine Johnson in the amount of $5,500,000.00.

              C. Non-economic damages to each of the John and Jane Doe plaintiffs Johnson in

the amount of $1,000,000.00 each, for a total of $4,000,000.00.

              D. Plaintiffs’ costs and disbursements incurred herein.

              E. Such other and further relief as this court deems just and equitable.

       DATED January 3, 2019.

                                                    s/ William D. Brandt
                                                    ____________________________________
                                                    William D. Brandt, OSB #720366
                                                    Attorney for Plaintiffs




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